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                             Exhibit 19
6/29/2020          Case 3:17-cr-00533-EMC BIKER
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BIKER WAR ERUPTS IN ILLINOIS
By Jerry Thomas, Tribune Staff Writer
CHICAGO TRIBUNE

NOVEMBER 20, 1994           |   ROCKFORD



B           ob Long was standing behind the counter of his auto-parts shop on Broadway, preparing to open for
            business, when he heard a "bang, bang, bang" from the motorcycle shop next door.

At first he dismissed the noise, thinking it was just LaMont Mathias, his buddy of 15 years, getting an early start
on the Harley Davidson bikes he repaired and rebuilt.

Two hours later, just before lunchtime, Long discovered the noise he had heard that morning was gunfire that
killed his 47-year-old "no nonsense" friend-leader, according to authorities, of the Hell's Henchmen motorcycle
gang.

Though Rockford has been home to the Henchmen for more than a decade, this working-class city has
remained relatively quiet and safe. But Mathias' June 28 violent death signaled that something had gone awry
in the underground world of motorcycle gangs.

According to authorities in Rockford and Chicago, a war has broken out in Illinois between the Chicago-based
Outlaws and the California-based Hell's Angels, which recently merged with the Henchmen.

The increased violence comes as police resources have shrunk and authorities across the nation have shifted
their focus to street gangs. As a result, motorcycle gangs have become more sophisticated and have expanded
their markets.

"They are similar in structure and criminal activity to the Mafia, but their lifestyle is around the motorcycle,"
said Detective Michael Vaughn, a gang specialist for the Los Angeles Police Department.

Authorities say the Angels-a gang of predominantly white, blue-collar, middle-aged men-took over the
Henchmen here, which also has chapters in Chicago and South Bend, Ind., because the Angels wanted to get a
foothold in the large and lucrative Chicago-area drug trade.

The Angels also are heavily involved in murder-for-hire schemes, prostitution, car thefts and the distribution of
illegal guns, authorities contend.

The 44-year-old Hell's Angels are the nation's largest motorcycle gang, with several thousand members in 94
chapters worldwide. They specialize in the distribution of chemical drugs, such as methamphetamine,
according to Vaughn.




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Since the so-called "designer" drugs are more popular with young whites, authorities said, the Angels plan to
target the suburbs and pockets of the city where there are large numbers of whites. Those areas would not
overlap with the drug market served by black and Hispanic gangs, authorities said.

But the Angels are treading onto the territory of the Outlaws, the dominant motorcycle gang in the Midwest.

"It has always been known that the Outlaws kept the Hell's Angels outside Chicago," said Richard Obartuch, a
gang crime specialist for the Chicago Police Department. "But (Chicago) is like the last hurdle they have to
overcome to make a statement.

"(The Angels) want to be top dog, and that is all part of that mentality. And the Outlaws say, `We are just as bad
as you. And if you come in, well and good, but you will have to pay a tremendous price.' "

The Outlaws made it clear with Mathias' death that the Angels are not welcome in Illinois, law enforcement
officials said.

Nevertheless, more than 300 Angels rolled into Rockford last summer, displaying their colors on their
chromed, antique bikes to attend Mathias' funeral and to posthumously induct him into the Hell's Angels.

That made the Outlaws even angrier.

In October, Roger Fiebrantz, Mathias' successor as head of the Henchmen, was seriously injured when an
explosive device went off in his truck parked beside his trailer home. Fiebrantz remains in the intensive care
unit of a Rockford hospital.

On Oct. 7, Mike Coyne, the acting president of the Henchmen, found a bomb beneath his car that later
exploded. Later that day, a car exploded outside the Henchmen's clubhouse in Chicago. No one was injured in
either bombing.

"Obviously, they have turned up the heat again another notch," Obartuch said.

In recent weeks, law enforcement officials from Rockford and Chicago and Winnebago and Cook Counties, as
well as the Illinois State Police, the FBI and the U.S. Bureau of Alcohol, Tobacco and Firearms have been
investigating the bombings and devising a plan to prevent more violence.

"The Hell's Angels, with their national identity and pride, will not permit anything like (the bombings) to go
unanswered," Obartuch said. "They can't. They will lose total face (respect). You can expect continuing
incidents, and it will probably escalate. Neither side will back down."

The Hell's Angels and the Outlaws have a history of bloody battles.

In September, a clash between the Angels and the Outlaws at a Lancaster, N.Y., drag race erupted into gunfire
and knife fights. Each gang suffered a casualty.


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The last big showdown was the "July 4th Massacre" in 1979, when the Hell's Angels stormed into a Charlotte,
N.C., clubhouse and gunned down five Outlaws. Authorities believe the shooting was in retaliation for the
killings a year earlier of seven Hell's Angels in a Montreal bar.

Later that year, 32 Hell's Angels, including their leader, Ralph Barger, were named in a 25-count federal
indictment in California, which included charges of fraud and murder.

After Barger was convicted and sentenced to prison, the Hell's Angels slowly began to disappear from the
American landscape.

But as it turned out, they didn't disband; they simply transformed themselves. The big clubs went international,
and some members traded greasy jeans for business suits.

The Outlaws gang, which was organized in Chicago in 1962 and grew to a few thousand members, mostly in the
Midwest and the South, was able to co-exist with the Henchmen with little violence before the Angels arrived,
authorities said.

That is why Mathias' killing was such a shock.

Long said it is hard for him to believe that Mathias, a divorced father of three who once was a foreman at the
nearby Chrysler plant, flirted with the wrong side of the law.

"I will never forget that day," Long said, referring to the shooting. "I felt so sad for his girlfriend. She cried so
hard and so long her face was swollen.

"And you know what's so funny about that? No one saw anything."




Corrections

Additional material published Nov. 21, 1994:Corrections and clarifications.A story Sunday about recent violence
between two motorcycle gangs contained the wrong dates for the car bombings in Rockford and Chicago, which
occurred on Nov. 7. The Tribune regrets the error.




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SUMMARY OF EVENT:

On March 14-15, 2009, ATF undercover agents and confidential sources met with Members of the OUTLAWS
MOTORCYCLE CLUB (OUTLAWS MC) from North Carolina, South Carolina and Virginia. During this meeting
undercover agents attended the Regional Bosses meeting, which took place in Hopewell, Virgina. Additionally,
undercover agents and confidential sources were present when Members of the OUTLAWS MC planned and carried
out an assault on Members of the DESPERADOS MC, a HELLS ANGELS MC affiliate club. This assault took place
in Petersburg, Virginia. Several Members of the OULTAWS MC came armed with firearms to commit this assault.

NARRATIVE:

   1. On March 11, 2009, ATF Special Agent (SA) Jeff Grabman, while working in an undercover capacity, was
      contacted by Les WERTH, OUTLAWS MC COPPER REGION PRESIDENT. During this telephone
      conversation, WERTH told SA Grabman that he (WERTH) and approximately 5 other OUTLAWS MC
      Members from North and South Carolina would be coming to the Richmond, Virginia area on Saturday, March
      14, 2009. WERTH told SA Grabman that they had business that they had to discuss.

   2. Shortly after this conversation, SA Grabman contacted Mark FIEL, AKA SNUFF, MANASSAS/FRONT
      ROYAL, VIRGINIA OUTLAWS MC PRESIDENT by telephone. During this conversation, SA Grabman
      informed FIEL that WERTH had contacted him (SA Grabman) and that WERTH and others were coming to the
      Richmond area on Saturday. FIEL stated that he already knew about the planned meeting and would see SA
      Grabman at his (SA Grabman’s) residence on Saturday. SA Grabman had a later conversation with FIEL on
      March 12, 2009, during which FIEL told SA Grabman that WERTH and the other OUTLAW MC Members
      were meeting in Richmond to conduct the Regional Bosses meeting, where WERTH would discuss everything
      that was talked about at the National meeting held in Daytona, Florida during the recent March bike week.
      FIEL added that these members were also going the be in Richmond to show support for the Richmond chapter.
      FIEL also told SA Grabman that he (FIEL) had spoken to Charles LOVE, AKA REBAR, PRESIDENT of the
      RICHMOND, VIRGINIA Chapter of the PAGAN’s MC (PMC) and told LOVE that several Members of the
      OUTLAWS MC from out of state would be in the Richmond area on Saturday.

   3. On March 13-14, SA Grabman was contacted several times by LOVE by telephone. During these
      conversations, LOVE stated that he too had PMC Members from outside the Richmond area in town, as a show
      of support and to assault members of the HAMC and their affiliate clubs if they came into the Southern Star bar,
      located in Colonial Heights, Virginia. LOVE asked SA Grabman to meet with himself and other PMC
      Members when the OUTLAWS MC Members from out of state came into town.

   4. On March 14, 2009, ATF SA’s Grabman, Dan Ozbolt and Thomas Anderson, along with two ATF Confidential
      Sources, met with the following OUTLAWS MC Members:

             Les WERTH – COPPER REGION PRESIDENT
             Mike MARIACA, AKA M & M – PRESIDENT of the ROCK HILL, SC CHAPTER
             Mike SMITH – PRESIDENT of the LEXINGTON, NC CHAPTER
             Harry MCCALL – VICE PRESIDENT CHAROLETTE, NC CHAPTER
             Christopher TIMBERS, AKA ALIBI – MEMBER MANASSAS, VIRGINIA CHAPTER
             Lyle BEATTY, AKA BUTCHY- MEMBER MANASSAS, VIRGINIA CHAPTER
             William DAVEY, AKA REBEL – MEMBER ASHVILLE, NC CHAPTER

   5. During this meeting at the undercover residence in Hopewell, Virginia, WERTH stated that he wanted SA
      Grabman to locate a hotel where they could conduct the Regional Meeting. It was made apparent that the
      OUTLAWS were concerned about locations being bugged by law enforcement and stated that they wanted to
      do it at another location. It was later told to undercover agents that Bosses Meetings are always held in a
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   “neutral” location that is safe. SA Grabman was able to locate a room at the Fairfield Inn, in Hopewell,
   Virginia to conduct the meeting.

6. While at the undercover residence, the Members of the OULTAWS that were present stated that they had come
   to Richmond to conduct this meeting, in part because they wanted to take the opportunity to come to Virginia to
   find and assault Members and associates of the HELLS ANGELS MC (HAMC) and their support clubs.
   Undercover agents were asked to describe the membership and strength of the HAMC and their support clubs,
   to include where the local establishments were that they frequent. The undercover agents were told that
   following the Regional Meeting, Members of the OUTLAWS were going to be going out in the Richmond area
   to find and assault these HAMC Members and support club members. Additional details of this conversation
   are contained on the audio/video CD recording made at the undercover residence, which has been placed into
   ATF Evidence as Item #E-088.

7. The regional Meeting was held in room 327 at the Fairfield Inn, located in Hopewell, Virginia. During the
   course of this meeting, which WERTH ran, issues that were presented at the National meeting were discussed,
   to include:

          The OULTAWS currently have 526 Members, and 50 new Members since December of 2008.
          Rochester, IL has a new Black Piston Chapter
          Mt. Vernon, IL has a new Black Piston Chapter
          “BOBBY” from Peoria, IL is out of the club
          “ROAD HOG” from Indiana quit the club
          Member need to write more letters to Members in Prison, so they feel needed and do not cooperate with
           law enforcement
          Absolutely no pictures on any websites of Outlaw members
          The OUTLAWS in Orlando have a new clubhouse
          “POCKETS” from Pensacola, FL was arrested by the “Feds” for a fight
          New OUTLAWS Prospect Chapter in Cleveland, TN
          The OUTLAWS are not going to attend the National NCOM meeting this year
          The OUTLAWS now have 89 Chapters, in 1992 they only had 27 Chapters
          The Wilkinsburg, PA Chapter of the OUTLAWS was raided approximately a week ago by the “Feds”.
          The New York NIGHT RIDERS MC has patched over to become HELLS ANGELS MC Members.
          “RANDY” from Columbus, OH Chapter quit the club
          The ANIMALS MC from Pennsylvania are now an official OUTLAWS Affiliate Club
          Need to be cautious around the black WHEELS OF SOUL MC Members, some OUTLAWS ok with
           them others are not
          If a Members fails to defend his patch or is “punked out” while wearing his patch, he will have his 1%er
           Diamond cut off his colors because he embarrassed the club
          “DOMINICH” will be “off-paper” soon.
          The HIGHLAND CLAN MC, which is an OUTLAW support club from Wisconsin/Northern Michigan,
           opened a new chapter in Ohio.
          BLACK HAWKS MC in Martinsburg, IN is an official OUTLAWS support club
          MINYUNS MC in Anderson, IN is now an official OUTLAWS support club
          As of now, the OUTLAWS are not going to the “SMOKEOUT” at the Rockingham Drag Strip on May
           15, 2009
          “SIR RICH” from Oklahoma is out of the club
          “ED” from Ardmore, OK is out bad from the club
          OUTLAWS LLC dues this year are $425.00, $42.50 per region
          “SKEETER” in CT is out of the club
          NH Chapter has lost their clubhouse, “HO JO” will now be the point of contact for anyone needing
           anything in NH
          “LARRY MAC” is going to CANCUN, MX to talk to people there about opening a chapter
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          Savannah, GA clubhouse is being forced to move.
          “GRIZZ” from Savannah is out of the club
          “JESSIE” in Alabama was involved in a motorcycle robbery/scam involving another OUTLAWS
           Member for $10,000 and is out of the club in bad standing
          All patches in the COPPER REGION have to go through “LIGHTNING”.
          There is a new OUTLAWS MC Chapter starting mid-summer in Madison, WS
          “RABBI” from Wisconsin is out of the club
          Black Pistons MC is updating their Chapter list and should be available soon.

8. Additional information was also presented concerning runs and events that are scheduled for this summer, as
   well as listings of OUTLAWS MC Members that are in the hospital or who have recently been involved in
   motorcycle accidents. A copy of SA Grabman’s (who attended this meeting) handwritten notes, have been
   placed in the ATF case file.

9. Following this meeting, all the OUTLAWS MC Members listed above who came to the undercover residence,
   along with SA’s Grabman, Ozbolt and Anderson and the two Confidential Sources (CS’s) went to eat at a local
   restaurant in Hopewell, Virginia. After eating dinner, while standing outside the restaurant, MARCICIA made
   statements about having “MAGGOT ALAMODE for desert or better yet MAGGOT LIVER”. MAGGOT is a
   derogatory term used by the OULTAWS MC referring to the HELLS ANGELS MC. During this conversation,
   WERTH stated that he wanted to go down to the area where the HELLS ANGELS MC or their Affiliates might
   be, send three OUTLWAS MC Members inside see what happens and the rest can come in behind.

10. After eating, WERTH told SA Grabman to find out where the HAMC and/or their Associate clubs would be
    that evening. SA Grabman told WERTH that he had not been to any of their (HAMC Members and/or
    associates) bars in the Richmond, Virginia area before. SA Grabman stated that the only bar that he was aware
    that the HAMC Affiliate clubs, DESPERADOS MC, MERCILESS SOULS MC and the PURE EVIL MC
    frequent was a bar called the “COCKADES” located in Petersburg, Virginia. SA Grabman further stated that
    he did not know where it was located. WERTH instructed SA Grabman to find out the exact location of the bar
    and stated that this was the place that he wanted to go to that evening. SA Grabman attempted to get WERTH
    to go to an OUTLAWS MC and PMC friendly bar, the Southern Star, but WERTH stated he did not want to go
    there and again instructed SA Grabman to locate the COCKADE bar. SA Grabman then called PMC
    PRESIDENT LOVE to find out where the bar is located. LOVE gave SA Grabman a general location of the bar
    and then put DEVILS GRIP MC PRESIDENT, Chuck BARLOW on the telephone who gave further directions.
    During this conversation, LOVE told SA Grabman to call him if they ran into any HAMC Affiliate club
    Members, stating that he and several other PMC Members would be there to help them if needed.

11. While driving to the COCKADE bar, WERTH called SA Grabman, who was in a separate vehicle, and
    instructed him to find a place for everyone to pull off so he (WERTH) could discuss the plan that he had
    devised. The undercover agents and CS’s, followed by the OUTLAWS MC Members, pulled into a school
    parking lot off Highway 36 and parked. Everyone exited their respective vehicles and WERTH then detailed
    his plan. WERTH stated that he wanted three of the smaller OUTLAWS MC Members, selecting SA
    Anderson, one of the ATF CS’s and OUTLAWS MC Member DAVEY, to go into the bar first. WERTH then
    stated that himself, MARCICIA and MCCALL would then go into the bar “slick back”, referring to not wearing
    their colors. WERTH stated that SA’s Grabman and Ozbolt, along with BEATTY and TIMBERS, would wait
    outside the bar and watch over Mike SMITH, who would stand outside the bar, in plain site wearing his
    OUTLAWS patch, to try to lure anyone outside into the bar. SA’s Grabman and Ozbolt, along with BEATTY
    and TIMBERS, were then to follow SMITH into the bar, approximately 15 minutes after the first group entered
    the bar. While in the parking lot, WERTH, MARCICIA and MCCALL were observed with firearms, placing
    them on their person.

12. Everyone then left the parking lot in their respective vehicles and drove directly to the COCKADE bar, located
   at 305 N. SYCAMORE STREET, PETERSBURG, VIRGINIA. As planned, one of the ATF CS’s, DAVEY
   and SA Anderson, all wearing their OUTLAWS MC patches, entered the bar first, shortly thereafter followed
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   by WERTH, MARCICIA and MCCALL, who were not wearing any OUTLAWS MC insignia. Approximately
   5-10 minutes later, SMITH walked up, wearing his OUTLAWS MC patch and stood across the street from the
   bar. Within five minutes, two Members of the DESPERADOS MC walked up along side the bar with two
   females. As they neared the front of the bar, they motioned for the two females to walk back from the direction
   from where they had come and were heard telling the females to go back to the car. The two DESPERADOS
   then walked into the middle of the road and began verbally confronting SMITH. The DESPERADOS were
   heard yelling at SMITH, stating that Petersburg was “their town” and that the COCKADE was “their bar”.
   SMITH responded that VIRGINIA is an OUTLAW state, that Petersburg is an OUTLAW town and this is an
   OUTLAW bar now. After a couple of minutes of this banter, the two DESPERADOS entered the bar. Shortly
   thereafter followed by SMITH, BEATTY, TIMBERS and SA’s Grabman and Ozbolt, who were all wearing
   OUTLAWS MC patches. When the two DESPERADOS MC Members entered the bar, they were joined
   thereafter by a third DESPERADO wearing a DESPERADOS MC patch. Two of the DESPERADOS MC
   Members walked past SA Anderson, DAVEY and the ATF CS and then continued onto and entered the men’s
   restroom near the rear of the bar.

13. After a brief time period, the two DESPERADOS MC Members exited the bathroom and as they walked past
    SMITH and BEATTY, they engaged in a heated conversation with SMITH and BEATTY. During this verbal
    confrontation, SMITH began physically assaulting one of the Members of the DESPERADOS MC. During this
    confrontation, the DESPERADOS MC Member attempted to retrieve a large Mag Light from his rear pocket.
    As he began to remove the flashlight, SA Ozbolt grabbed it from his hand (this flashlight was placed into ATF
    Evidence as Item #031).

14. As the physical altercation began, SA’s Grabman and Anderson, who were approximately 5-6 feet away from
    the altercation and who were not participating in the altercation, were assaulted by a DESPERADOS MC
    Associate, during which this individual struck SA Grabman across the face with a full beer bottle, leaving SA
    Grabman with a gash on his forehead, which produced a large amount of blood. SA’s Grabman and Anderson,
    disarmed this individual, utilizing their ATF issued batons and this individual then ran out of the bar.

15. During this assault, the DESPERADOS MC Members exited the bar. SA’s Grabman and Ozbolt also exited the
    bar a short time later and walked back to the ATF undercover vehicle to attempt to remove the blood that had
    come from SA Grabman’s facial injury and to attempt to stop the bleeding.

16. Shortly thereafter, SA’s Grabman and Ozbolt exited the vehicle and walked back into the bar. During this
    assault, and while seated in the vehicle, SA Grabman received several telephone calls from PAGANS MC
    PRESIDENT Charles LOVE, AKA REBAR, as well as SA Ozbolt received several calls from UNTAMED MC
    Member “CHEW CHEW”. SA Grabman spoke with LOVE during one of these calls and informed LOVE that
    the OULTAWS were at the time engaged in an ongoing assault with the DESPERADOS MC. It was later
    learned that LOVE, PMC Lynchburg Member “TORCH”, PMC Richmond SGT-at-ARMS JIMBO, DEVILS
    GRIP MC PRESIDENT Chuck BARLOW and UNTAMED MC Member CHEW CHEW, had showed up at the
    bar to help participate in the assault of the DESPERADOS MC Members. Further details of their participation
    are detailed in a separate ATF ROI.

17. SA’s Grabman and Ozbolt re-entered the bar and all the rest of the OUTLAWS MC Members were still in the
    bar. A short time later, several marked police units from the Petersburg Police Department arrived at the bar.
    All of the OUTLAWS MC Members, including the undercover agents and the CS exited the bar and walked
    together around the corner. As they walked they observed numerous Members of the DESPERADOS MC
    standing in a parking lot. WERTH, MARCICIA and SMITH began walking toward these DESPERADOS MC
    Members, followed by the rest of the OUTLAWS MC Members, to include the ATF undercover agents and the
    CS. As they approached the DESPERADOS MC Members, a female was observed passing a handgun through
    an open window of her vehicle to one of the DESPERADOS MC Members who was next to the vehicle (this is
    the same DESPERADOS MC Member, believed to be identified as AKA “RAMBO”, the ENFORCER for the
    PETERSBURG, VIRGINIA DESPERADOS MC CHAPTER. WERTH, who had walked to approximately 15
    feet from where the DESPERADOS MC Members were standing, made a statement to the DESPERADOS MC
    Member who was now holding the handgun at his side, that he (WERTH) knew that the individual had the gun
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   in his hand, stated words to the effect of “you are a 1%er, lets see if you are willing to do what it takes to be a
   1%er”. At this point, WERTH pulled back his coat and placed his hand on his pistol, which was now in open
   view and MARCICIA withdrew his silver colored revolver from the back of his pants, showing it to the
   DESPERADOS MC Members and then placed it under his arm. During the course of this confrontation, the
   DESPERADOS MC Member who had assaulted SA Grabman with the beer bottle inside the bar, withdrew a
   knife and held it at his side in confrontation to SA’s Grabman and Anderson, who had walked to where he was
   standing in the group. SA Grabman disarmed this individual utilizing his ATF issued baton and the individual
   then ran from the area. After a short verbal exchange between WERTH and the DESPERADOS MC Members
   present, local law enforcement marked units began arriving in the area. The OUTLAWS MC Members, to
   include the undercover agents and the CS, then walked away from the area.

18. Following this incident, it was discovered that DAVEY had been arrested inside the bar by officers from the
    Petersburg Police Department for possession of brass knuckles and a concealed weapon (knife). DAVEY was
    allowed to bond out on the misdemeanor violations and later met up with undercover agents. During this time,
    SA Ozbolt received a telephone call on his undercover phone from CHEW CHEW. When SA Ozbolt answered
    the telephone, he discovered that it was PMC PRESIDENT LOVE that had utilized CHEW CHEW’s phone to
    call him. During this discussion, LOVE told SA Ozbolt about how he (LOVE), along with PMC Member
    TORCH, PMC SGT-at-ARMS JIMBO, DEVILLS GRIP MC PRESIDENT Chuck BARLOW and UNTAMED
    MC Member CHEW CHEW had come to the COCKCADE bar to help assault members of the DESPERADOS
    MC with the OUTLAWS. LOVE told SA Ozbolt that they had jumped out of their vehicle with three axe
    handles and a gun and chased down some of the DESPERADOS MC Members.

19. The OUTLAWS MC Members and the undercover agents and CS, regrouped and then went to Live Wires bar,
    located in Hopewell, Virginia, during which no additional incidents occurred. During this time, TIMBERS and
    BEATTY left the bar, stating that they were driving back home.

20. After leaving the Live Wire bar, The OUTLAWS MC Members, along with the undercover agents and the CS
    drove back to the undercover residence. While driving back to the undercover residence, Mike SMITH, who
    was riding in the undercover vehicle with SA’s Grabman and Ozbolt, along with DAVEY, stated that “bad part
    about being in another state is I feel naked without my gun, you know I am a felon, I’m not supposed to have
    one”. A criminal history check of SMITH’s criminal background shows that he is in fact a convicted felon.

21. Upon returning to the undercover residence, there were brief discussions concerning the evening’s incident.
    Additionally, WERTH was observed removing the pistol that he carried in a belly band around his waist. SA
    Ozbolt was allowed by WERTH to look at the pistol, which is described as a silver in color, Ruger P 90 pistol.
    SMITH and DAVEY did not stay at the undercover residence, but instead returned and utilized the room at the
    Fairfield Inn, which had been used to conduct the earlier Regional Bosses meeting.

22. The following morning, March 15, 2009, around 9:00am, the OUTLAWS MC Members who had stayed at the
    undercover residence, WERTH, MARCICIA and MCCALL, left and drove back to North Carolina.

23. Further details of this event are contained on the audio CD recording made from the recording device worn by
    SA Ozbolt, which has been placed into ATF Evidence as Item #E-089.
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                                            WATCH TRENDING TRAILERS NOW!                                         0:07
                                                                                                                    LIVE




        Hells Angels ambushed Pagans in Augusta County
        shooting
          Brad Zinn, The News Leader   Published 1:52 p.m. ET Oct. 4, 2018 | Updated 1:59 p.m. ET Oct. 4, 2018



                                            STAUNTON - During the early morning hours of Sept. 10 at the Hometown Inn near Greenville, five men
                                            — four of them reportedly members of the Hells Angels motorcycle gang and the other a prospect — were lying
                                            in wait after two members of the rival Pagans Motorcycle Club were spotted across the street at the Pilot Travel
                                            Center.

                                            Roughly 90 minutes later, as the two Pagans pulled into the motel parking lot on their motorcycles, an ambush
                                            was unleashed, based on video evidence shown Thursday in Augusta County Circuit Court.

                                            One of the Pagans was shot, the other knocked off his motorcycle and beaten with a hammer.

                                            More: Staunton woman faces child abuse charge (/story/news/local/2018/10/03/staunton-woman-charged-
          (Photo: Submitted/ACSO)           child-abuse/1507902002/)

                                            Prior to the shooting, which took place shortly before 3 a.m., after the two Pagans were seen at the travel
center, one of the motorcycle gang members rousted four others from their rooms at the motel.




After the men took off their Hells Angels gear and changed into different clothing, one of the Hells Angels kept close tabs on the Pagans across the street
with binoculars. Another was seen holding an iPad in their direction as he presumably filmed them, motel surveillance video showed. Three other Hells
Angels were nearby.

An hour1and
        freeaarticle  left.the Pagans went to the Hometown Inn. The clerk, unaware there were now rival gang members at the motel, gave them a
              half later,
room next to one of three rooms rented by the Hells Angels, according to evidence.
       Fourth of July Sale.
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As the Pagans 3 months.          Save
                    up to their room,   90%.
                                      one following the other, the second rider was knocked off his motorcycle as it was still moving. The rider in front
wiped out as he attempted to escape the ambush, skidding his bike to the ground. As he ran, two Hells Angels opened fire on him, video showed. An
investigator said four Now
          Subscribe    to five gunshots were fired.


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The victim was struck once in the lower left side of his back. He survived the shooting and was released from the University of Virginia Medical Center in
Charlottesville after a week-long stay, according to testimony.


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The beating victim was not seriously injured.

Both victims were members of the Pagans Motorcycle Club out of southern Virginia, the sheriff's office said.


More: Sex offender arrested in Verona stun gun attack (/story/news/local/2018/10/03/sex-offender-charged-verona-stun-gun-attack/1508613002/)

Seven suspects were arrested at the scene. Two guns and a shell casing were recovered at the motel by investigators.


Following the shooting, Augusta County Sheriff Donald Smith said both groups were passing through the area following an unidentified convention.

One of two men accused of opening fire is Anthony Milan, 28, of East Elmhurst, New York. Milan is a prospective member of the Hells Angels in New York
City, according to evidence. He appeared in Augusta County Circuit Court on Thursday in an attempt to get a bond set.

Dominick J. Eadicicco, 48, of Staten Island, New York, is also suspected of opening fire, evidence showed.

Milan, Eadiciccio and three others are charged with two counts of malicious wounding by a mob, along with single counts of conspiracy to maliciously
wound, gang participation in a criminal act and use of a firearm in the commission of a felony.

In court Thursday, Milan, who has no prior felonies, was denied bond.


Two other Hells Angels were not charged in the attack but face drug and gun charges.

All seven suspects remain behind bars.

More: Two dead in Nelson County crash (/story/news/local/2018/10/02/two-dead-nelson-county-crash/1506696002/)




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                                                                    in Brawl


                                                                                                                                      AP NEWS
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     Pagan Bikers Indicted in Brawl
     FRANK ELTMAN    March 12, 2002




                                                                                                                                                     ADV
                            NEW YORK (AP) _ Seventy-three members of the Pagans motorcycle gang were indicted Tuesday
                            on federal racketeering charges stemming from a fatal brawl last month at a rival biker group’s
                            convention on Long Island.

                            The fight at the Hells Angels-sponsored Hellraisers Ball left one man dead and at least 10 others
                            injured during the Feb. 23 motorcycle and tattoo expo in Plainview.

                            Prosecutors allege the Pagans were outraged the Hells Angels scheduled an event on what they still
                            consider their home turf. The Pagans had been Long Island’s dominant gang until their ranks were
                            decimated by federal prosecutions several years ago.


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                            Prosecutors allege that Pagans members from Ohio, Pennsylvania, Maryland and elsewhere                    French ex-prime
                            converged on Long Island and conspired to attack the Hells Angels event. Hundreds of weapons,             found guilty of fr
                            including knives, bats, brass knuckles and shotguns, were seized.

                            Mark Lancaster, a lawyer for the 73 Pagans, who were being held without bail, insisted the Pagans
                            arrived ``with a purely peaceful intent″ and were attacked by Hells Angels.                               Rolling Stones th
                                                                                                                                      over using their s
                            Prosecutors allege some Pagans had written out wills before heading to the expo, and several wore
                            bulletproof vests.

                            Among those at the Hellraisers Ball were Sonny Barger, the Angels’ legendary leader, and Chuck
                            Zito, a member who appears in the HBO series about prison life, ``Oz.″
                                                                                                                                                     ADV




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            San Antonio Bandido who killed Hell’s Angel
            member gets 18 years in prison without parole
            By Guillermo Contreras Updated 2:55 pm CDT, Thursday, October 4, 2018




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            IMAGE 1 OF 84

            Robert Romo was sentenced to 18 years without parole for killing a rival biker in 2006. Click through the
            gallery to see other Bandidos sentenced in Texas and other facts about the notorious MC club.




            A San Antonio man who killed a member of the Hell's Angels in 2006 to gain
            membership in the rival Bandidos Motorcycle Club was sentenced Thursday to 18
            years in prison without parole.


            Robert Romo, 45, testiﬁed at a trial for the Bandidos’ former two top leaders that he
            was the triggerman in the March 2006 shooting of Anthony W. Benesh III, who was
            slain outside a pizza restaurant in Austin in front of his children and girlfriend.




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                                                                                                  without parole       15 of Express-News
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            Benesh’s killing was unsolved for 11 years, until federal authorities in early 2017
            developed information that led them to charge Romo and three other Bandidos in the
            murder, among them Romo’s older brother, Johnny “Downtown” Romo, 48, who was a
            high-ranking national sergeant-at-arms in the Bandidos.


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            Like Johnny Romo, Robert Romo faced life in prison without parole, but prosecutors
            also asked Senior U.S. District Judge David Ezra for a reduction. The judge gave
            Robert Romo 18 years for murder in aid of racketeering and 18 years for using and



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            discharging a ﬁrearm in aid of a racketeering murder, then ran the sentences
            concurrently.


            Johnny Romo pleaded guilty to the same charges as his brother and received a
            sentence of 15 years without parole on Wednesday.


               Related Stories                                                      At trial, the Romo brothers testiﬁed
                                                                                    that the hit on Benesh was ordered
                                        Bandidos’ secrets
                                        spilled by ex-national
                                                                                    by then-Bandidos national president
                                        ranking member                              Jeffrey Fay Pike and the directive
                                                                                    was passed on to Johnny Romo by
                                                                                    John Xavier Portillo, who was a
                  Judge hands down fate for Bandidos                                national sergeant-at-arms in 2006
                  leader in S.A.
                                                                                    and went on to became national
                                                                                    vice president in 2013. Benesh, who
                                                                                    had planned to start a chapter of the
                                                                                    Hell’s Angels in Austin, had ignored
                                                                                    warnings from the Bandidos to not
                                                                                    ﬂy Hell’s Angels colors in Texas,
                                        Bandido learns fate
                                        for retaliation killing                     which is considered the Bandidos
                                        near San Antonio
                                                                                    homeland and territory.


                                                                                    Pike, 63, of Conroe, and John
                                        San Antonio judge                           Portillo, 59, of San Antonio were
                                        sentences Bandido
                                        turned informant to                         sentenced last week to life in prison
                                        15 years without                            without parole after they were
                                        parole
                                                                                    convicted of charges that they

                                        Jurors hear wiretaps
                                                                                    sanctioned, ordered or led the
                                        and recorded                                bikers’ racketeering conspiracy over
                                        Bandidos meetings
                                                                                    several years.


                                                                                    RELATED: Jurors deciding man's
                                        Bandidos ex-                                fate in child sex attack blamed on
                                        president admits
                                        using cocaine but                           dogs
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                                                                                    According to Robert Romo’s
                                                                                    testimony, the hit crew, using

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                                                                                    walkie-talkies to communicate while




            in two separate vehicles, staked out Benesh’s home over two days, deciding to move
            in on the second day for the kill. The day of the slaying, Robert Romo brought a
            hunting riﬂe ﬁtted with a scope that he had borrowed from a friend over a year earlier,
            according to Robert Romo’s testimony.


            Both Romos also testiﬁed that Robert Romo was rewarded by being made a full-patch
            Bandidos member earlier than is normal and that he was made a part of a squad called
            the Fat Mexican Crew, tasked as enforcers for the Bandidos’ national chapter. The “Fat
            Mexican” is the Bandidos insignia widely seen on their motorcycle vests and
            accessories.



                    Guillermo Contreras covers federal court and immigration news in the San
                    Antonio and Bexar County area. Read him on our free site, mySA.com, and on
            our subscriber site, ExpressNews.com. | gcontreras@express-news.net | Twitter:
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    APRIL 2007



    The Gang’s All Here
    When a beloved brother died last summer, more than four hundred bikers thundered
    into San Antonio for his funeral. As they swapped stories about the old days and
    guzzled beer, one message could be heard over the roar of their Harleys: Bandidos
    forever.



    BY           SKIP HOLLANDSWORTH


    ISSUE        APRIL 2007


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    T
                 HEY BEGAN ARRIVING AT THE MISSION PARK They began arriving at the
                 Mission Park Funeral Home in San Antonio early on a Friday afternoon. They came
                 in packs, riding two, sometimes three abreast, their motorcycles roaring loudly
                 enough to rattle all the funeral home’s windows.

    People who worked in the nearby stores and businesses rushed outside to get a better look.
    One man, standing in the parking lot of a Mexican restaurant, called a friend on his cell
    phone and shouted, “There must be a hundred of them!” A woman driving a Ford Taurus
    swerved to the shoulder of the road and slammed on her brakes as a group of them raced
    past her, missing her car by inches.

    They kept coming and coming, their wind-burned faces grim and purposeful. They were
    dressed in steel-toed boots, jeans, and their “colors”: denim or black leather vests covered
    with a variety of red-and-gold patches that carried such slogans as “Loyalty is our honor,”
    “Our colors don’t run,” and “Expect no mercy.” On the back of every vest was a large patch
    of a bellicose Mexican bandit brandishing a pistol and a machete.

    “It’s the Bandidos!” yelled the man in the parking lot. “The Bandidos are here!”

    On this September afternoon the members of the Bandidos Motorcycle Club were indeed
https://www.texasmonthly.com/articles/the-gangs-all-here/                                          1/16
6/29/2020          Case 3:17-cr-00533-EMC Document  1084-20
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    On this September afternoon, the members of the Bandidos Motorcycle Club were indeed
    in San Antonio. They had come to pay their respects to one of their early members, Luis
    Bonilla, a.k.a. Bandido Chuco, who had died at the age of 65 from liver cancer. They
    thundered into the funeral home’s parking lot, gunning their engines again and again,
    sending thick clouds of exhaust into the air. One Bandido popped a wheelie on his Harley-
    Davidson and rode on his back tire for at least thirty yards. Another raced down the parking
    lot, hit his brakes, leaned his entire body to the left, whipped his motorcycle around, and
    then raced the other way. On the back of some of the motorcycles were the Bandidos’ wives
    or girlfriends, known as PBOLs: Proud Bandido Old Ladies.


    Standing in the doorway to the chapel, the thin, dark-suited director of the funeral home
    smiled nervously, his lips as pale as milk. “They promised us there would be no trouble,” he
    said hesitantly as the Bandidos parked their bikes and began hugging and kissing one
    another on the mouth—the traditional Bandido greeting.

    “I love you, brother!” barked one beefy, middle-aged Bandido, wrapping his tattooed arms
    around a Bandido whose long gray hair was held back with a bandanna.

    “Man, that Chuco was a bad motherf—er,” said another, wearing a T-shirt underneath his
    vest that read “Snitches are a dying breed!” “Remember how he used to say that if we ever
    had a problem, we should handle it very, very violently?”

    The men roared with laughter. There were more bear hugs and kisses as more Bandidos
    arrived. A ﬂask or two was passed around. Several of them headed into the chapel to see
    Chuco in his casket. He was dressed in his favorite black T-shirt, black jeans, and his
    Bandidos vest. He was surrounded by bouquets of ﬂowers, along with photos of him in his
    younger days standing beside his motorcycle or next to topless biker chicks.

    Suddenly, the Bandidos heard a sound in the distance, a distinct whomp-whomp-whomp.
    They walked back outside, looked up, and saw a helicopter coming right at them. It banked
    to the right and began to circle the funeral home. In the helicopter’s open door were a
    couple of men in police uniforms holding binoculars.

    “The pigs are here,” someone said.

    For a few moments, the Bandidos stood there, unmoving. And then, as if given a silent cue,
    several of them lifted their hands in unison and ﬂashed their middle ﬁngers toward the sky.


    IF YOU WEREN’T LIVING HERE THIRTY or forty years ago you might not have any idea
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    IF YOU WEREN T LIVING HERE THIRTY or forty years ago, you might not have any idea
    who the Bandidos are. You probably have no inkling that they were once the terrors of
    Texas, so fearsome that when a rumor spread through a town that they were coming,
    people literally headed inside their homes and locked their doors.

    And even if you do know who they are, you could very well have trouble believing they still
    exist. The Bandidos? The renegade motorcycle gang? Aren’t they long gone, artifacts of the
    Easy Rider era? Hasn’t the motorcycle world been taken over by lawyers, doctors, and
    advertising executives, all those self-proclaimed “chromosexuals” who pull back their hair
    in neat ponytails and don designer sunglasses and expensive black leather jackets so that
    they can take leisurely rides through the countryside on sunny weekend afternoons?

    In fact, the Bandidos are not just hanging on, they are thriving. With an estimated 800 to
    1,000 members in sixteen states (about 400 in Texas alone) and another 1,400 members in
    Canada, Europe, and Australia, they are now as large as the fabled Hells Angels, from
    California, and according to law enforcement oﬃcials who investigate the club, the new
    Bandidos—or at least some of them—are just as ribald and rebellious as the originals, whom
    the cops used to chase day and night.

    In the past couple of years alone, police around the country have arrested Bandidos for
    everything from drug dealing and kidnapping to possession of illegal weapons and
    traﬃcking in stolen vehicles. Bandidos have been accused of threatening people who were
    preparing to testify against them in court and of beating and even shooting any member of
    rival motorcycle clubs who has either not shown them the proper respect or attempted to
    invade one of their territories.

    Last March, for instance, police in Austin announced that the Bandidos were the prime
    suspects in one of the city’s most shocking murders: the slaying of a 44-year-old local
    motorcyclist named Anthony Benesh. Benesh, who had been trying to start an Austin
    chapter of the Hells Angels, had been shot in the head, apparently by an unseen sniper, as
    he was leaving a North Austin restaurant with his girlfriend and two children. According to
    homicide detective Frank Rodriguez, in the days before his murder, Benesh had been
    receiving telephone calls from Bandidos telling him to stop wearing a vest that displayed
    Hells Angels patches. Obviously, said Rodriguez, Benesh didn’t follow their advice.

    But it’s not only the Bandidos’ rivals who are getting killed. Less than a month after the
    Benesh shooting, eight Bandidos were found stuﬀed inside abandoned vehicles in a ﬁeld in
    Canada. Investigators speculated that the victims had been killed by a team of hit men as
    part of an “internal cleansing” ordered by the Bandidos’ leaders. “Unlike the Hells Angels,
    who have tried to ﬁnesse their public image with toy runs and other charity stunts,” wrote
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    who have tried to ﬁnesse their public image with toy runs and other charity stunts, wrote
    the Canadian journalist Julian Sher, who has spent years covering motorcycle gangs, “the
    Texas-based Bandidos have never shied away from ﬂaunting their brutal pedigree. ‘Cut one,
    we all bleed,’ the Bandidos warn—and the blood has never stopped ﬂowing, often from
    internal strife as much as external battles.”


    Today the police seem more determined than ever to bring the Bandidos down. Federal
    prosecutors have gone so far as to indict Bandidos under the Racketeer Inﬂuenced and
    Corrupt Organizations Act (RICO), a federal statute originally intended to destroy Maﬁa
    families, claiming that the club is an “organized criminal enterprise” that resorts to
    “intimidation, extortion, violence and threats of violence against rival motorcycle clubs” to
    maintain its “power, territory and proﬁts.” This past August, the federal government also
    admitted in a court ﬁling that the Bureau of Alcohol, Tobacco, Firearms and Explosives,
    along with “other investigative agencies,” was carrying on “active investigations” into the
    club. And according to the law enforcement gossip mill, at least one of those investigations
    is now focused on Texas, where all the Bandidos’ national oﬃcers live.


    Yet as they made abundantly clear at their gathering in San Antonio, the Bandidos are not
    remotely intimidated. Throughout that Friday afternoon and into the evening, Bandidos
    continued roaring toward the funeral home, some of them coming from as far northwest as
    Washington and as far southeast as Alabama. Old Bandidos who had retired from the club
    years ago showed up, many of them with backs and hips so creaky they were barely able to
    throw their legs over their choppers, and the new generation of Bandidos also came, sitting
    astride $30,000 custom-made Harleys with perfect pinstriping. Even a handful of
    European Bandidos had ﬂown in for the occasion, borrowing motorcycles from members of
    the San Antonio chapter so they too could ride.

    “Let me tell you one thing, my friend,” said a Bandido who had seen me standing quietly by
    the funeral home’s front door taking notes. He had introduced himself only as F.O., and he
    was one of the most intimidating-looking men I’ve ever seen. Built like a professional
    wrestler, he had thick black hair and a black Fu Manchu mustache, and just below his chin
    was a tuft of beard tied up with string and held in place by a fourteen-karat gold skull with
    diamonds in the eyes.

    F.O. lifted one of his meaty arms and poked me so hard in the chest with his foreﬁnger that I
    thought my sternum was going to crack.

    “We are Bandidos forever, forever Bandidos,” he said. “We are brothers until the day we die.
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    And no one, absolutely f—ing no one, is going to take that brotherhood away.”


    I SAW MY FIRST BANDIDOS IN 1969, when I was eleven years old. My father, a straitlaced
    Presbyterian minister, took our family to Galveston for a vacation. We were walking in our
    bathing suits on the sidewalk next to the seawall when a group of them roared past us on
    the adjoining boulevard, their engines as loud as ﬁghter jets.

    “Get down!” my father yelled, as if he thought the Bandidos might shoot us. He ran over and
    put his arms around one of my sisters, thinking they might kidnap her. “Get down!” he
    shouted again. It was one of the most thrilling experiences of my life.

    For me and my friends, the Bandidos were like the bogeymen. At recess, we swapped stories
    —perhaps true, perhaps not—about how Bandidos pulled out their enemies’ teeth with
    pliers and beat them with heavy metal wrenches. We talked about Bandidos carrying
    bombs with them on their motorcycles, which they used to blow up gas stations that
    refused to serve them. We even believed that, just for fun, they had sex with dead women.


    And as far as we were concerned, the great outlaw of the state was not Sam Bass, John
    Wesley Hardin, or any of the other nineteenth-century gunslingers mentioned in our
    textbooks. It was the Bandidos’ founder, Donald Chambers—only he rode a Harley instead
    of a horse. To this day, I can remember the ﬁrst time I saw his photo: a mug shot, printed in
    a newspaper, that had been taken after he had been arrested. He was as lean as a plank, with
    light brown hair that fell to the bottom of his neck and sideburns that went down to his jaw
    line, and he stared at the camera with a cocky, you’ll-never-bring-me-down expression.

    “He was a hell-raiser, there was no question about that,” said his daughter, Donna Lee
    Chambers-Miers, who lives near Crockett and used to go barhopping with her father when
    she was a teenager. “When he started downing shots of Windsor Canadian whiskey, people
    learned real quick that he was not someone to mess with. God, Daddy was famous for the
    way he could throw a punch. And if that didn’t work, he’d pull out his knife and start
    swinging that around too.”

    Chambers started the Bandidos in March 1966, when he was 36 years old and working on
    the ship docks in Houston. In the past, he had been a member of other Houston-area
    motorcycle clubs, but they had bored him. He told his friends that he was naming his club
    the Bandidos, in honor of the Mexican bandits who refused to live by anyone’s rules but
    their own, and he began recruiting his ﬁrst members not only out of Houston but also out of
    the biker bars in Corpus Christi, Galveston, and San Antonio.
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    the biker bars in Corpus Christi, Galveston, and San Antonio.

    “Don wasn’t looking for people who ﬁt into what he called ‘polite society,’” said one of
    Chambers’s ﬁrst members, Royce Showalter. Showalter, his white hair long and braided, is
    now sixty years old, living in San Antonio on disability payments and barely able to walk
    because of past motorcycle accidents. But when I spoke to him, he still smiled brightly at
    the memory of those early days when Chambers came into his life. “He wanted the badass
    bikers who cared about nothing except riding full time on their Harley-Davidsons. He
    wanted bikers who lived only for the open road. No rules, no bullshit, just the open road.”

    In that era there were already a number of hard-core biker clubs scattered throughout the
    country, including the Outlaws, the Pagans, and, of course, the Hells Angels, which had
    been formed shortly after World War II. Those clubs called themselves the One Percenters,
    a phrase stolen from a former president of the American Motorcyclist Association who
    once declared, after a rumble between two motorcycle clubs in California, that 99 percent
    of motorcyclists were law-abiding citizens and 1 percent nothing more than “outlaws.” The
    Hells Angels were particularly notorious: The year Chambers started the Bandidos, soon-
    to-be-famous journalist Hunter S. Thompson published Hell’s Angels: The Strange and

    Terrible Saga of the Outlaw Motorcycle Gangs, a book that detailed the club’s violent, drug-
    fueled adventures.

    “All of us read it to get some ideas on what we should be doing,” said Showalter. “And then
    we looked at one another and said, ‘Hell, we can do a lot better than these guys.’ ”

    By the early seventies, Chambers had more than one hundred members, many of whom
    were restless young Vietnam veterans who, in the words of one Bandido I spoke to, “had
    gotten bored sitting at home trying to be nice after the government had taught them how to
    be so bad.” The original Bandidos had wild, unruly hair, scraggly beards, huge tattoos, and
    cigarettes sticking out of their mouths, and they went by such nicknames as Revolver,
    Pecker, Deadweight, Rawhide, Coonass, and Crankcase. One member was nicknamed Log
    Cabin because he loved drinking whiskey from a Log Cabin syrup bottle. Although the club
    was made up mostly of white males, Chambers welcomed Hispanics, and for a couple of
    years, there was one black man who rode with the club. His nickname was Spook.

    In some ways, oddly, the Bandidos were not all that diﬀerent from any other fraternal
    organization. Just like the Rotary Club, each chapter was required to have a weekly meeting
    where attendance was taken and dues paid. Just like the Lions Club, its members had vests
    and were given rules about wearing them. (A Bandido was required to wear his vest
    whenever he rode his motorcycle. Conversely, if he was in a car, he had to take it oﬀ.) Like
https://www.texasmonthly.com/articles/the-gangs-all-here/                                          6/16
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    the Elks, the Bandidos had their own clubhouses, and like the Masons, they had their own
    initiation rites.

    But that’s where the comparisons ended. Consider, for instance, the gold-colored “courtesy
    card” that Chambers printed up for his members to give to “citizens” (the word they used
    to describe nonmembers). Embossed in red at the top of each card was the Bandidos’
    ominous motto: “We are the people our parents warned us about.” In the lower left corner
    were the initials “FTW” (for “F— the World”). And in the middle of each card was the
    phrase “Bandido by profession, Biker by trade, Lover by choice, You have just had the honor
    of meeting …,” which was followed by that particular member’s signature.

    Or consider the Bandidos’ initiation rites. Once a new member received his Bandidos vest,
    he was ordered to lay it on the ground. The other members of his chapter then urinated,
    vomited, and defecated on it. The new recruit was then required to put the vest back on and
    dry it out by riding on his motorcycle.

    “We were so crazy back then it’s amazing we are alive,” said Showalter. “We’d go ﬂat out on
    our motorcycles all day long, eighty to ninety miles an hour, and then at night, we’d hold
    our parties far out in the woods so the cops wouldn’t ﬁnd us. There was booze and drugs
    everywhere. We had girls show up who wanted to screw everyone. There was always
    someone stumbling into the bonﬁre and someone else shooting a pistol into the air. We’d
    party till dawn, go to sleep right there on the ground, and then get up, get on our
    motorcycles, and hit the road again.”

    Then, in 1972, Chambers and two other Bandidos were arrested for shooting to death two
    drug dealers in El Paso over a botched sale. The police said that before killing the dealers,
    Chambers had made them dig their own graves. Then Chambers and the other Bandidos
    had set their bodies on ﬁre before burying them.

    Chambers was sentenced to two consecutive life terms in prison, leading some police
    oﬃcials to speculate that the Bandidos, without their founder, would disband. But his right-
    hand man, Ronnie Hodge, another former Houston dockworker, who was the size of a
    grizzly bear, took over and did not make the slightest attempt to tone down the Bandidos’
    renegade image. Throughout the seventies, they were arrested for dealing drugs, running
    prostitution rings, extorting money from the owners of roadhouses and strip joints—even
    operating illegal pit bull ﬁghts.

    “Yep, we were the bad boys,” said one of the most infamous Bandidos from those years, 63-
    year-old Franklin “Stubs” Schmick, who now lives in East Texas with his Old Lady of the
https://www.texasmonthly.com/articles/the-gangs-all-here/                                           7/16
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    past ﬁfteen years, Barbara “Dummy” Schmick, a chatty, sassy woman who, during the
    seventies, was renowned among the Bandidos for her bombshell looks and her
    extracurricular activities at an Austin nude-modeling studio. “I’ll be honest, it was a lot
    more fun back then. The police had no cell phones and no video cameras, which meant we
    all had a much better chance of getting away.”

    IN THE LATE SEVENTIES, the Bandidos became suspects in two of the state’s most
    publicized shootings: the attempted slaying in 1978 of James Kerr, an assistant U.S.
    attorney in San Antonio who was reportedly conducting an investigation into the club, and
    the 1979 assassination of U.S. district judge John Wood Jr., of San Antonio, who was known
    as Maximum John for his merciless sentences for drug oﬀenders, a few of whom were
    Bandidos.

    Kerr identiﬁed three Bandidos in a police lineup as his possible assailants. In the Wood
    case, more than one hundred Bandidos were subpoenaed to appear before a federal grand
    jury. Suddenly, the club found itself in the national spotlight: In Newsweek, they were
    described as “the single greatest organized crime problem” in Texas, and on ABC’s 20/20, a

    young Geraldo Rivera noted that seven of the club’s eight national oﬃcers had criminal
    records “involving drugs, guns, or violence.”

    Unrepentant, the Bandidos insisted that they had not shot the prosecutor or the judge and
    that the only reason they were being harassed was because of their anti-establishment
    posturing. (In the Newsweek article, a deﬁant Hodge snarled, “We’re the last free
    Americans.”) And when members of an El Paso crime family, the Chagras, were eventually
    convicted of hiring hit men to shoot Kerr and Wood—Wood’s killer was Charles Harrelson,
    the father of actor Woody Harrelson—the Bandidos promptly celebrated by throwing huge
    parties and racing around on their motorcycles, shooting their middle ﬁngers at just about
    everyone they came across, including cops.

    Furious, law enforcement agencies redoubled their eﬀorts to bring the club down. Some
    police departments formed motorcycle gang task forces. The FBI went so far as to buy a
    biker bar in Dallas, bringing in as the “owner” a New York agent who tried to ﬁnd out what
    the Bandidos were up to.

    In 1985, after a long undercover investigation, hundreds of federal agents and local police
    oﬃcers in eight states arrested nearly one hundred Bandidos and their associates on
    charges of narcotics traﬃcking. (To round up the Bandidos in Lubbock, the police used an
    armored personnel carrier to bust into their fenced compound.) And in 1988 almost all the
https://www.texasmonthly.com/articles/the-gangs-all-here/                                          8/16
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    Bandidos’ national oﬃcers, including Ronnie Hodge and Stubs Schmick, who was then a
    national vice president, were arrested by federal agencies for conspiring to bomb homes
    and automobiles belonging to members of the Banshees, an upstart Dallas motorcycle club.

    “The feds thought that they ﬁnally had us with that one, that there would be no one left to
    run the club,” chuckled Schmick, who, along with Hodge, was given a ﬁve-year sentence.
    “But by the time we headed oﬀ to prison, we already had the next group of leaders ready to
    go. That’s the Bandido way.”

    IN 1998 THERE WAS TALK ONCE AGAIN that the Bandidos had suﬀered a fatal blow:
    Craig “Jaws” Johnston, who was then the Bandidos’ president, and other leaders pleaded
    guilty in federal court to charges that they had conspired to manufacture and sell as much
    as a thousand pounds of methamphetamine. But the Bandidos kept right on growing,
    opening new chapters throughout the country. The club also continued expanding into
    Canada, Australia, and Europe, where young motorcyclists were enamored of the Bandidos
    after reading about their exploits in biker magazines. The European Bandidos proved
    themselves to be just as aggressive as their American counterparts, setting oﬀ a turf war

    with Europe’s Hells Angels and at one point ﬁring anti-tank grenades at two Hells Angels
    clubhouses in Denmark.

    The Bandidos were so brazen that they even started their own Web site. It contained a list
    of all the Bandidos’ chapters, photos of famous dead Bandidos such as Chambers (who died
    of cancer in 1999) and Hodge (who died of heart disease in 1992), and a page where
    supporters and wannabes could purchase Bandidos T-shirts, clocks, coﬀee cups, tote bags,
    calendars, and thong panties. (Written on the front of the panties was the phrase “Support
    Your Local Bandidos.”)

    In 2005 the feds made their next assault on the Bandidos’ empire. They hit Johnston’s
    successor, George Wegers, who lived in Washington State, and 27 other Bandidos and their
    associates in that area with a RICO indictment. The speciﬁc charges were hardly ﬂashy:
    Wegers and the others were accused of such varied crimes as stealing motorcycles,
    kidnapping a rival motorcycle club member (the kidnapping lasted a day), and conspiring
    to kill a disloyal Bandido associate who was suspected of meeting with federal agents (the
    killing never took place). Defense attorneys criticized federal prosecutors for stitching
    together a racketeering case based on minor felonies and misdemeanors. Still, the evidence
    was strong enough that 18 of the Bandidos, including Wegers, agreed to plea deals in return
    for short prison sentences.

https://www.texasmonthly.com/articles/the-gangs-all-here/                                          9/16
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    And as soon as Wegers was gone, the feds quickly began circling his successor, Jeﬀ Pike,
    who lives just north of Houston. “It’s only a matter of time,” a highly placed Texas law
    enforcement oﬃcial told me last spring. “Every man who’s ever been president of the
    Bandidos has been brought down, and it’s only a matter of time before Mr. Pike gets
    brought down too.”

    On an impulse, I sent an e-mail to the Web site, asking if the 51-year-old Pike would agree
    to an interview. I ﬁgured I wouldn’t hear from him. A couple of undercover police oﬃcers
    who follow the club had told me that Bandidos oﬃcers never discuss anything with
    “citizens.” “They’re not going to be real receptive to a reporter showing up,” one oﬃcer said.
    “You ask one wrong question, and you could be in for an ass-kicking.”

    But a couple of weeks later, Pike called. “I hope you don’t believe all that bullshit the feds
    are feeding you,” he said in a surprisingly cheerful voice. “I’m just a clean-cut American guy
    who loves riding his motorcycle. You’d be surprised. I’m almost always in bed by ten p.m.
    Come on down, I’ll talk to you.”



    For a second, I didn’t know what to say. “You’re going to let me come to your house—the
    head of the Bandidos?” I asked.

    Pike laughed out loud. “Oh, hell, it’s not like it’s any secret where I live. The cops drive by
    here just about every day just to see what I’m up to. The Houston FBI agent who
    investigates us has called me so many times that I’ve got his number on my speed dial.
    We’ve gotten to know each other so well that I once met him at a Denny’s for a cup of coﬀee
    to answer his questions.”

    A few days later I drove into a well-kept neighborhood near the Woodlands residential
    community. I headed down a street containing mostly sprawling ranch-style homes on
    large lots, at least a couple of acres in size. Toward the end of the road was Pike’s property.

    I assumed I would be met by one of his sergeants at arms, eyeing me suspiciously, maybe
    with a handgun sticking out of the back of his pants. There was a tall front gate with a “Go
    Away” sign attached to it, but it was wide open. I headed down a dirt road, drove past a
    stand of trees, and saw an unﬁnished two-story frame home, about 3,500 square feet.
    Standing before the home was a handsome, strapping man. He had no visible tattoos and no
    facial hair except for a neatly groomed goatee, and his crew cut was ﬂecked with gray. He
    was dressed in blue denim shorts, a white T-shirt, and tennis shoes with white socks. He
    looked like just another middle-aged man who had spent the morning working in the yard.
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    “You’re Jeﬀ Pike?” I asked.

    “You got him,” he said, shaking my hand and giving me a conﬁdent grin.

    For a while, we admired his house, which he was building himself; one side of the upstairs
    had ﬂoor-to-ceiling windows and a long balcony. Pike, who’s divorced, told me that
    although he would be living in it alone, he wanted it to be big enough that his two kids
    would have a place to stay when they came to visit him from college.

    I stared at him. “Kids in college?”

    “They’re at a major university right here in Texas,” he said, grinning again. (To protect their
    privacy, Pike asked me not to name the school.) “You know, we’re not all that diﬀerent than
    anyone else. We have families. We take our clothes to the dry cleaners. And we all go to
    work. We’ve got guys who own their own businesses, guys who work for oil companies, guys
    who are in the computer industry. Up in Washington, one of our Bandidos is an engineer at
    Microsoft.”

    He showed me his bicycle, which he rides eleven miles a day to stay in shape, and then he
    led me into the ﬁrst ﬂoor of his house, which was basically a garage containing a couple of
    vintage automobiles and motorcycles that he was restoring. A few years ago, Pike owned a
    large street-rod shop in Tomball. Now, he said, he works here alone, restoring and
    customizing vehicles for select customers—“including a local constable, who knows I do
    good work,” he said with a smirk.

    In one corner of the garage were his Harley-Davidsons. One was a black 1988 Softail
    Custom. The other he had built himself to look just like a chopper out of the seventies,
    complete with an elongated Springer front end, high handle bars, and chrome pipes. Next
    to the Harleys was his Bandidos vest, hanging from a coat rack.

    “There’s my stuﬀ,” he said, handing me a bottle of water.

    Pike told me that he had been an altar boy at a Catholic church in California, where he was
    born and raised. But by his teenage years, he had discovered “cigarettes and girls,” and he
    also became fascinated with motorcycles when he saw a pack of Hells Angels ﬂying down a
    road. “It was all chrome and noise,” he said. “It was just something you don’t forget, like a
    cowboy seeing his ﬁrst train.”

    He dropped out of high school, and in 1973 he moved with a buddy to Texas—“partly
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    because the drinking age was eighteen.” A couple of years later, when he was twenty years
    old, he bought a big Harley Panhead. “Everyone said to me, ‘Lock it up. The Bandidos live
    here, and they love to steal motorcycles.’ ”

    Eventually, Pike met some Bandidos at a Harley shop in Houston and at the strip joints on
    Gessner Road, and in 1979 he became a “prospect.” He quickly moved his way up in the
    club, becoming president of one of Houston’s chapters in 1988 at the age of 33 and a
    national vice president eleven years later. For a Bandido, he was relatively clean, his rap
    sheet consisting of just two crimes: In 1987 he paid an $800 ﬁne after pleading guilty to a
    misdemeanor assault charge (he admitted stabbing a man who was arguing with him at a
    party), and in 1992 he received twenty months deferred adjudication after being charged
    with illegally wiring his house in order to steal electricity from the city of Houston.

    But the fact was that few of the new Bandidos were compiling spectacular rap sheets.
    “These are not your father’s Bandidos,” said Kent Schaﬀer, a well-known Houston attorney
    who has been defending the club for 23 years. “Yes, they love riding fast. They love the
    tough biker persona. They are not Boy Scouts, but they are not outlaws. They are not

    getting on their bikes and looking to commit crimes. About the only thing they get these
    days are speeding tickets.”

    Although federal investigators in the 2005 RICO indictment claimed that Bandidos were
    sometimes required to pay the club a “road tax” (a percentage of their proceeds derived
    from criminal activities), Ed Winterhalder, a former Bandido from Oklahoma who quit the
    club in 2003, told me that only 10 percent of today’s Bandidos make a living through crime.
    “And what they do is not organized crime authorized by the club,” he said. “They trade guns
    and stolen bike parts. They do some minor drug deals. They might do a burglary here and
    there. But that’s it.”

    On the other hand, said the highly placed Texas law enforcement oﬃcial, Bandidos have a
    tendency to turn violent, especially during confrontations with other motorcycle clubs:
    “What you have to remember is that these men don’t become Bandidos because they are
    simply motorcycle enthusiasts. They become Bandidos because they love being known as
    the badasses. And when you get a bunch of men like that together in one club, you better
    watch out, because there’s no telling what can happen.”

    And the police certainly had their doubts about Pike. In surveillance photos, they saw the
    “Expect no mercy” patch on his vest, which is the Bandidos’ equivalent of the Purple Heart,
    given to any member who has drawn blood or spilled his own blood in defense of the club.
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    Their suspicions about him only deepened after the Benesh and the Canadian aﬀairs. The
    Austin police, in particular, wanted to know if he had ordered the killing of Benesh as a way
    to send a message to all motorcycle clubs about what he would do to anyone he found
    moving into Bandidos territory. Canadian authorities were curious to learn if Pike had
    ordered the shooting of the eight Bandidos to remind other members just what would
    happen to them if they too turned against the club.

    Pike, however, did not seem the slightest bit defensive when I mentioned the cops’ theories.
    “I know they’re trying to pin everything on us,” he said. “But we’re not out there shooting
    people, for God’s sake. None of my guys shot some goofy Hells Angels wannabe who meant
    nothing to us, and as for that Canada mess, I didn’t have any contact with that chapter up
    there for weeks before those killings. I have no idea what happened to any of them.”

    Pike sighed and tossed his empty bottled water into a trash can. “Why can’t the feds just
    accept the fact that we’re a bunch of old bikers who love to get together and have some fun?
    Why don’t they start chasing real criminals, like those kids in street gangs who scare the



    shit even out of me, instead of following us everywhere we go, tapping our phones, and
    trying to destroy us with a bunch of made-up charges?”

    For the ﬁrst time, Pike’s smile faded and his eyes narrowed slightly. “You know, if the feds
    spent as much time investigating a police department as they do investigating us, they’d
    eventually catch someone breaking a law. But would they call that entire department a
    criminal enterprise? Would they say, ‘All police oﬃcers commit crimes,’ the way they tell
    reporters like you, ‘All Bandidos commit crimes’? Hell, no.”

    BY SATURDAY MORNING, AT LEAST FOUR HUNDRED Bandidos were in San Antonio,
    gathered in the parking lot of an evangelical church for Chuco’s funeral. The police
    helicopter also showed up, circling clockwise, and an unmarked van with darkened
    windows stopped across the street. A Bandido scout went over to check out the van and
    came back to report that it too was ﬁlled with police oﬃcers, one of whom was taking
    photos with a high-powered camera.

    Bandidos are not exactly Bible-thumpers. Only a few went inside the church for the service
    to hear Chuco’s sister deliver a tearful eulogy, concluding with the line “Oh, Chuco, I will
    miss your laughing and your ﬁghting.” Those who remained in the parking lot stood around
    their bikes. Some of them downed beers, ignoring the handwritten signs on the church
    doors that read “Please, no drinking on church property.” One Bandido, pretending he had
https://www.texasmonthly.com/articles/the-gangs-all-here/                                           13/16
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    a riﬂe in his hands, aimed at the police helicopter and ﬁred oﬀ a few imaginary rounds.

    I strolled around the parking lot, trying to ﬁnd someone to interview. Although Pike’s
    assistants had told a few of the members that he was letting a reporter come to the funeral,
    many had no idea who I was. “Hi, how are you?” I said to a Bandido wearing a bandanna and
    dark sunglasses. “What’s it to you, motherf—er?” he replied, his breath smelling of alcohol
    and cigarettes. I attempted to eavesdrop on a conversation among some of the older
    Bandidos, thinking I might hear some interesting anecdotes about the club. “Jesus, my f—
    ing cholesterol,” one of them said. “F—ing oﬀ the f—ing charts.”

    I turned around and came face to face with F.O., who had stabbed me in the sternum the day
    before. He hugged me so hard that all the air shot out of my lungs. “Don’t you f—ing wish
    you were a Bandido?” said F.O., which I later learned stood for “F— Oﬀ”; then he introduced
    me to two women whom he described as “my two Old Ladies”: Meja, a blond beauty who
    has been with him for 26 years, and Crystal, a brunet college student who has been with
    him for 4 years. Crystal was wearing not only a necklace with a pendant that read “PBOL”
    but also a leather belt that carried the stitched-in phrase “Property of Bandido F— Oﬀ.”

    “I split time equally with them,” F.O. said. “A few nights at Meja’s, then a few nights at
    Crystal’s, then back to Meja. Not bad, huh?”

    A few minutes later, I came across an agreeable, clean-cut young Bandido named Lenny
    Jonas. He was 36 years old, the son of one of the ﬁrst members, Steve “Panhead” Jonas, who
    had been shot to death at a San Antonio bar in 1983. Lenny, who was married with four kids,
    worked for an electric cooperative in the Hill Country. He told me he didn’t see his father
    much when he was a boy. “But when I got older, people would talk about him—talk about
    his love of adventure,” he said. “So I decided to get a bike. I started meeting Bandidos. And
    now, ﬁve years later, here I am.”

    As we talked, his wife, Nicole, walked up. She was 33 years old, tall and blond, and she was
    wearing a vest that had a patch on the back that read “Proud Bandido Old Lady.” “People
    told me I had lost my mind when I said I was going to marry a Bandido,” said Nicole, who
    runs a pet grooming salon in the Hill Country. “They said Lenny would be gone all the time,
    riding with the club to God knows where. And the truth is that I sometimes do get jealous of
    all the time he spends with the club. He jumps up, says he’ll be back soon, and is gone for
    four days. But I know he loves it so much that I would never ask him to quit.”

    When Lenny was out of earshot, I asked Nicole what she thought about the allegations that
    the Bandidos were a criminal enterprise. “Well, if they are committing crimes, I don’t see
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    them doing it,” she said. “But here’s the thing. When Lenny takes oﬀ on his bike, I don’t ask
    questions about what he’s doing. Lenny is a grown man. If he wishes to do something illegal,
    that’s his choice. All I ask is that he not bring it home and tell me about it. That way, if I’m
    ever asked to testify about anything, I can honestly say I do not know.”

    After the service, all the Bandidos headed to their bikes. They knocked back their
    kickstands with their boots and roared oﬀ, lining up behind the hearse, two by two, the line
    growing longer and longer. The hearse and the motorcycles proceeded down a major
    boulevard, then turned into the cemetery, the sound of the bikes so deafening that other
    mourners who were laying out ﬂowers for their loved ones put their hands to their ears.

    When the hearse stopped, members of Chuco’s own San Antonio chapter carried his casket
    to the grave site. “Careful, now, goddammit, be careful,” someone said. The coﬃn was
    lowered into the ground, and a mariachi band sang “Te vas, ángel mío” (“You Leave, Angel
    of Mine”). A minister read a poem about a dead biker (“Can you feel the wind in Heaven,
    while the men hold back the tears?”), and right after he said “amen,” a friend of the
    Bandidos pulled up in a pickup with a keg of beer strapped to the bed. A few minutes later,

    another car appeared, and out popped a couple of female employees of a local nude dance
    club called XTC Cabaret. Wearing high heels and miniskirts, they passed out ﬂyers and free
    drink tickets, telling the Bandidos that they ought to visit later that night to watch them
    perform.

    Before long, several of the Bandidos headed to the Double Deuce, one of south San
    Antonio’s better biker bars. I tagged along in my rental car. When I walked in, F.O., who was
    there with his Old Ladies, leaned into my ear and said, “Buddy, it would behoove you to buy
    some beers. The Bandidos would appreciate it.”

    Without saying a word, I bought a round for everyone—a total of 96 beers. The music on the
    jukebox cranked up, and I saw Jeﬀ Pike by a pool table.

    “Are you starting to understand?” he said.

    “Understand what?” I asked.

    “The brotherhood. The love we have for one another as brothers.” He paused and stared at
    me. “You know, I feel sorry for guys who don’t have a clue what this feels like.”

    I bought another round, and then another—asking questions the entire time about Bandido
    life to anyone who would look my way But soon I realized the Bandidos were ignoring me
https://www.texasmonthly.com/articles/the-gangs-all-here/                                           15/16
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    life to anyone who would look my way. But soon, I realized, the Bandidos were ignoring me.
    They obviously had their own business to discuss. I looked at Pike, who raised his
    eyebrows.

    “Time to leave?” I asked.

    “Could be,” he said with a grin.

    As I got in my rental car, I heard the familiar whomp-whomp-whomp of the police
    helicopter. It circled the Double Deuce—once, twice, then three times.

    A few Bandidos ﬁnally came outside. They looked at the helicopter, and once again, as if
    given a silent cue, they lifted their hands in unison and ﬂashed their middle ﬁngers toward
    the sky.

    Photographs by Wyatt Mcspadden




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            BY GEORGE ANASTASIA | JANUARY 09, 2020




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    Hell Boy swings a mean stick.

       Just ask Jeffrey Shank.


      The two outlaw motorcycle gang members “got together” one afternoon back in April 2018
    at a gas station on Elizabeth Avenue in Newark. Shank, who had just left the Hells Angels’
    clubhouse a few blocks away, stopped to get some gas for his bike.


    Hell Boy, whose given name is Robert DeRonde, pulled into the station in a pickup truck. A
    video surveillance camera captured the action from there. DeRonde jumped out of his truck
    with a metal baseball bat in his hands and leveled his first shot, a two-handed swing from the
    right side, at Shank’s head. The biker, fortunately, was wearing a helmet. He went down, but
    then tried to scramble to his feet.


    Hell Boy moved in, swinging from the left side this time, and cracked Shank across the back
    and shoulders several times. The camera then picked up two other men closing in, one

    wielding what appeared to be a long metal pipe that he used to bash Shank across the ribs
    and back.

    The three hitmen then left the scene with Shank crumpled in a ball next to his bike.

    DeRonde, who later pleaded guilty to an assault charge and was sentenced to four years in
    prison, was a member of the Pagans Motorcycle Club, according to authorities. Shank was

    an associate of the Hells Angels. The gas station attack was a vivid example of what law
    enforcement investigators contend is an escalation in tension between the two rival biker

    gangs who are vying for control and dominance in one of the darkest and most brutal

    segments of the underworld.

    The New Jersey State Commission of Investigation (SCI) aired the video at a hearing in
    Trenton back in October that focused on what investigators say is growing concern over the

    violent resurgence and expansion of the Pagans.

    The three-hour hearing included testimony from investigators who have tracked the activities

    of the club. They said there has been a rise in both membership and assaults over the past
    two years.
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    The hearing also included recorded testimony about life in the biker underworld from three
    former club members whose voices were disguised to protect their anonymity. And finally,

    there were appearances by three alleged leaders of the New Jersey branch of the
    organization, all of whom repeatedly cited their fifth amendment right against self-

    incrimination while refusing to answer nearly every question posed to them.

    Like the mob, the bikers believe in a code of silence.

    And like the mob, bikers have always used violence as both a negotiating tool and a way to

    settle disputes. The beating at the gas station was a little of both. Authorities say the Pagans
    are trying to move into Hells Angels territory in both North Jersey and New York.


    One investigator who testified at the hearing said it was “just a matter of time” before a war
    breaks out between the two groups and expressed concern that “civilians get caught in the

    middle.”

    The Pagans and the Hells Angels have been there before.

    The Hellraisers Ball on Long Island back in 2002 is one graphic example. A group of about 60

    Pagans stormed a catering hall where the Hells Angels-sponsored event was being held. The
    affair was open to the public and included blues bands, porn stars, motorcycle exhibits and

    tattoo contests. One Pagan was killed and dozens of others were injured in the melee that
    ended with multiple arrests. Police seized nearly 500 weapons that day, including guns,

    knives, bats and clubs. Civilians—non-bikers attending the event—were simply collateral
    damage, caught in the line of fire.


    On a smaller scale, Pagans often boast about what is known in the biker underworld as “The

    Bloodshed at the Woodshed.” The Woodshed was a bar in Burlington County where on New
    Year’s Day in 2005 a group of Pagans and their associates attacked and brutally beat three

    Hells Angels who at the time were recruiting members in South Jersey and Philadelphia.

    Several Pagans, in fact, had “patched over,” giving up their membership in the Pagans to

    become Hells Angels.



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    A few weeks after the Woodshed attack, one of those Pagans-turned-Angels was killed in a
    drive-by shooting on the Schuylkill Expressway in Philadelphia after being followed by

    members of the Pagans from a local go-go bar.

    The Pagans may not boast the membership numbers of some of the bigger clubs—the Hells

    Angels, the Outlaws and the Bandidos—but they have always matched or exceeded them

    when it comes to violence. No one has ever been arrested in connection with that murder or

    with the attack at the Woodshed.

    It is the conventional wisdom in law enforcement circles that the Pagans thwarted the Hells
    Angels’ attempted move into the Philadelphia–South Jersey area back in 2005. Now, the SCI

    seems to be saying, the Pagans have embarked on an expansion plan of their own.

    One clear example, authorities said, is a change on the “colors” that club members wear. The

    blue denim vests or jackets with word Pagans in large letters across the back often included

    the location of the local chapter along the bottom. Now, authorities say, that is being replaced

    with the words “East Coast,” a signal that the club wants a regional rather than a local
    identity.


    Whatever the locale, however, the club is still heavily involved in extortion, drug dealing and
    violence, say investigators. Meth is still the drug of choice for both sale and consumption

    within Pagan circles, say police. But now instead of manufacturing their own—for years

    Pagan Purple was a recognized brand in the meth business—most of the meth being sold by

    the bikers is imported from Mexico in a distribution deal with drug cartels from south of the
    border.

    Little else has changed within the organization, with drugs and extortion being primary

    sources of income; violence and intimidation being a way of life, and misogyny a big part of

    the club’s social set.

    “Women are lower than dogs,” one expert testifying before the SCI said during the hearing in

    October. Women can never be members. Like the mob, the biker underworld is one of the

    last exclusive men’s clubs in America. Women are designated as “property of” different club

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    members and can be shared sexually. They are also used to transport drugs and weapons

    and as messengers bringing information to and from different chapters.

    The SCI hearings opened a window into the operations of the outlaw gang. The testimony
    and evidence reinforced much that has already been said and written.


    A former Pagan, James “Jimmy D” DeGregorio, offered similar insights after he became a
    cooperating witness back in the 1980s. DeGregorio, interviewed for a documentary now

    available on YouTube, described himself as a former “cooker”—meth manufacturer—for the

    club. He said he turned to the government after members of his own organization tried to set

    him up for murder.

    This was at a time when the Pagans boldly clashed with the Philadelphia mob then headed

    by Nicodemo “Little Nicky” Scarfo. Scarfo tried to impose a “street tax” on all drug dealers not
    affiliate with his crime family. Many paid. But the Pagans balked.

    In fact, DeGregorio and an associate kidnapped two mobsters during the ongoing dispute

    and DeGregorio shot one of the mobsters as he tried to flee. DeGregorio was arrested—the

    shooting occurred in downtown Philadelphia and within view of several police officers. Jimmy

    D said he was ready to do his time for that assault. It came with his life as an outlaw biker.

    What he wasn’t ready for, he said, was a plot by several Pagans who conspired with the mob

    to have him killed. That’s why, he said, he began cooperating

    In the same interview, he offered an explanation for the biker’s code of silence, the code that

    he broke.

    The two expressions Pagans would shout to one another after being arrested, he said, were
    “argo” and “nunya.” That was code, he explained, for what a biker should say in response to

    any question posed by law enforcement. Argo was short for “ah go f— yourself,” he said, and

    nunya stood for “none a ya f—ing business.”

    Nothing subtle, it was an outlaw biker’s version of omerta.

    Bold, brash and in your face.
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    Like a metal baseball bat to the head.

    Just ask Jeffrey Shank.




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    Dozens of squad cars respond to melee
    Police say only two injured, none arrested.
    Police say only two injured, none arrested.

    April 02, 2006|JEFF PARROTT Tribune Staff Writer

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    Area police broke up a large fight Saturday between rival motorcycle gangs at the St. Joseph County 4-H
    Fairgrounds. Dozens of people, some wielding weapons, were involved in the melee that erupted shortly after
    noon, police said. The bikers, including those wearing "Outlaw" and "Hells Angels" gang jackets from
    Chicago, Detroit and Indianapolis, were attending a motorcycle swap meet. More than 30 police cars from
    South Bend, St. Joseph County and Mishawaka responded to the scene. Two bikers suffered injuries that
    required medical attention but were not life-threatening, said St. Joseph County police spokeswoman Jaimee
    Thirion. A county officer, Cpl. Kent Wickham, suffered minor injuries in a traffic accident on his way to the
    fairgrounds, Thirion said. After bringing the disturbance under control, police canceled the remainder of the
    event and ordered those attending to leave. No arrests were made, police said. Dan Hardman, who with his
    wife had set up a booth to sell parts, described a chaotic scene. "They were using bats, (motorcycle) forks,
    hammers on each other, with no regard for anyone around them, even children," said Hardman, who saw an 8-
    month-old child in the booth next to his. Hardman, a member of a Christian biker ministry called Bikers at the
    Crossing, said most of the time, biking is a peaceful "family thing." This turned out to be anything but. He said
    a police account that only two people were injured was "baloney." "They were using fenders on top of heads, it
    was horrible," he said. Witness Bob Candler, of Niles, agreed. "It was pretty ugly," said Candler. "I seen a guy
    getting hit in the head with a hammer, he kept waling on him." Hardman voiced sharp criticism for the security
    at the event and its promoters, Paragon Promotions of Portage, Mich. "You don't allow colors to mix,"
    Hardman said, referring to the fact that rival gang members were allowed to wear their gang symbols. "There
    should have been a lot more security. There were two (security guards), and they ran like girls." Paragon
    Promotions officials did not return a call seeking comment Saturday. An employee of Freedom Cycle Inc.,
    6210 U.S. 31 South, who declined to give his name, said the Michiana area has long been the "turf" of three
    gangs: the Hells Angels, Iron Cats and Devils Diciples. The gangs might have considered it poor "etiquette"
    when the Outlaws showed up without having first cleared it with the gangs. "It was the Angels and the Outlaws
    in the same place, period. That's all you need to know," said the employee, who did not attend the event but
    heard about it from people who did. "It's a club mentality, like one baseball team against another, or just like
    two high schools. There's been an ongoing dispute between the two clubs forever." Candler said the Outlaws
    should have been arrested. He found it odd that so many, at least 75, would come all the way from Indianapolis
    just for a small swap meet. "They were not there for a good time," Candler said. "I think they were there
    looking for trouble." Dan Brouillette, of Goshen, said he arrived shortly after police and was never allowed in.
    He had hoped to trade a motorcycle for some parts. He arrived to see men attempting to leave the fairgrounds




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on their motorcycles, only to be detained by police officers pointing shotguns at them, Brouillete said. "The
next thing I know it's a giant episode of 'Cops,' " he said. "It's the most excitement I've seen in a long time, so
I'm glad I came out." But Candler was less flippant. "It was sickening," he said, recalling how a young woman
turned to him and his girlfriend as the fighting broke out. "She was pretty frightened. She said, 'Don't leave
me.' " Staff writer Jeff Parrott: jparrott@sbtinfo.com (574) 235-6320




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